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          2.    Upon information and belief, Plaintiffs allege that Defendant Thurman L.
McClendon is, and was at all times relevant hereto, a resident of the State of Tennessee.
          3.    Upon information and belief, Plaintiffs allege that Defendant S&H Trucking,
Inc. is a legal entity organized under the laws of a State other than Montana, and has its
principal place of business located in the State of Georgia.
          4.    On or about April 3, 2018, Plaintiff Mitchell D. Kishineff was the driver and
Plaintiff Debra L. Kishineff was a passenger of a tractor-trailer which was proceeding in
an eastbound direction on Interstate 90 near Billings, Yellowstone County, Montana.
The roadway was icy and only the left passing lane had been sanded, so Plaintiff Mitchell
D. Kishineff drove cautiously in the left passing lane. In his passenger side mirror,
Plaintiff Mitchell D. Kishineff observed a tractor-trailer in the distance, traveling at a higher
rate of speed in the right driving lane. In order to allow the approaching tractor-trailer to
overtake him in the passing lane, Plaintiff Mitchell D. Kishineff activated his turn signal
and changed lanes into the right driving lane. After Plaintiff Mitchell D. Kishineff safely
executed his lane change and proceeded to travel eastbound in the right driving lane for
a reasonable period of time, Defendant Thurman L. McClendon negligently drove a
tractor-trailer into the back of Plaintiffs’ tractor-trailer, causing a collision.
          5.    Upon information and belief, Defendant Thurman L. McClendon was an
employee of Defendant S&H Trucking, Inc. at the time of the collision.
          6.    Defendant Thurman L. McClendon was acting within the course and scope
of his employment with Defendant S&H Trucking, Inc. at the time of the collision.
          7.    Defendant Thurman L. McClendon was the sole cause of the collision.
          8.    Defendant Thurman L. McClendon was negligent and negligent as a matter
of law.
          9.    Defendant S&H Trucking, Inc. is vicariously liable for the negligence of its
employees in the course and scope of their employment, pursuant to the doctrine of
respondeat superior.

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          10.   Plaintiffs were injured as a result of the collision and Defendants’
negligence.
          11.   Plaintiffs suffered property damage as a result of the collision and
Defendants’ negligence.
          12.   Plaintiffs have incurred special and general damages as a result of the
collision and Defendants’ negligence.
          13.   Plaintiffs were not a cause of the collision or their injuries and damages.
          14.   Defendants Does 1-10 are other persons or entities not yet identified who
are or may be liable for Plaintiffs’ injuries and damages.          In particular, and without
limitation, Does 1-10 include Defendant Thurman L. McClendon’s employer at the time of
the collision, if his employer was a person or entity other than Defendant S&H Trucking,
Inc. When Plaintiffs have more information on Does 1-10, a motion to add parties will be
made.
          WHEREFORE, PLAINTIFFS PRAY:
          1.    For an award for all of their special and general damages caused by the
collision and Defendants’ negligence, which include but are not necessarily limited to,
medical expenses, physical and emotional pain and suffering, loss of established course
of life, loss of enjoyment of life, lost earnings and lost earning capacity, and damage to
and loss of use of property.
          2.    For costs and fees as allowed by law; and,
          3.    For all other relief the Court deems appropriate.
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